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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION




UNITED STATES OF AMERICA

V.                                            CR119-111

BENELLE MARQUETTE EVANS



               ORDER ON MOTION FOR LEAVE OF ABSENCE



      Melissa C. Bray having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Melissa C. Bray be granted leave of

absence for the following periods: June 10, 2020 through June 15, 2020; June

24,2020 through June 26, 2020; and July 6, 2020 through July 10,2020.

      SO ORDERED,this the ^^S^iTday of February, 2020.



                                       UNITED STATES DISTRICT COURT
                                        )UTHERN DISTRICT OF GEORGIA
